Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 1 of 53




        EXHIBIT A
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Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 4 of 53
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 5 of 53
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 6 of 53
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 7 of 53
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       Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 9 of 53




      IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                              Filed COUNTY
                                                    and Attested by the
                         PENNSYLVANIA        Office of Judicial Records
                                                                            23 MAR 2021 12:21 pm
SANSOM STREET PARTNERS, LLC                         :                             M. RUSSO
AND                                                 :
MISSION TAQUERIA                                    :
AND                                                 :
SAMS OYSTER HOUSE, LLC                              :
                                                    : MARCH TERM, 2021
                      v.                            :
                                                    : No. 001516
HARLEYSVILLE WORCESTER INSURANCE                    :
COMPANY AND HARLEYSVILLE                            :
PREFERRED INSURANCE COMPANY AND                     :
NATIONWIDE MUTUAL INSURANCE                         :
COMPANY AND NATIONWIDE PROPERTY                     :
& CASUALTY INSURANCE COMPANY                        :


                    CERTIFICATE OF SERVICE OF LEGAL PAPERS
                            PURSUANT TO PA R.C.P. 403

       I, James C. Haggerty, Esquire, Attorney for Plaintiff, certify that a copy of the Writ filed
on March 16, 2021 was sent to Nationwide Mutual Insurance Company at One Nationwide Plaza,
Columbus, OH 43215-2220 by Certified Mail, Return Receipt Requested on March 17, 2021. The
Writ was received by the defendant on March 22, 2021. A true and correct copy of the letter to
Nationwide Mutual Insurance Company and a copy of the USPS confirmation and the Certified
Mail Return Receipt, Article No.: 7018 1830 0001 6524 9946 are attached hereto as Exhibit “A”.

                                             HAGGERTY, GOLDBERG, SCHLEIFER
                                             & KUPERSMITH, P.C.

DATE: 3/23/21                        BY:     _/s/ James C. Haggerty_____________________

                                             James C. Haggerty, Esquire
                                             1835 Market Street, Suite 2700
                                             Philadelphia, PA 19103
                                             Attorney for Plaintiff




                                                                                          Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 10 of 53




                         EXHIBIT A




                                                               Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 11 of 53




                                                               Case ID: 210301516
        Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 12 of 53




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Status

Delivered
March 22, 2021 at 6:51 am
Delivered, Individual Picked Up at Postal Facility
COLUMBUS, OH 43215
Get Updates
                                                                                        Delivered
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Tracking History
March 22, 2021, 6:51 am
Delivered, Individual Picked Up at Postal Facility
COLUMBUS, OH 43215
Your item was picked up at a postal facility at 6:51 am on March 22, 2021 in COLUMBUS, OH
43215.




March 21, 2021
In Transit to Next Facility




                                                                                              Case ID: 210301516
      Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 13 of 53



March 19, 2021, 11:39 pm
Departed USPS Regional Facility
COLUMBUS OH DISTRIBUTION CENTER




March 19, 2021, 10:02 am
Arrived at USPS Regional Facility
COLUMBUS OH DISTRIBUTION CENTER




March 17, 2021, 11:38 pm
Arrived at USPS Regional Facility
PHILADELPHIA PA DISTRIBUTION CENTER




Product Information
See Less




                                                                     Case ID: 210301516
       Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 14 of 53




       IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                               Filed COUNTY
                                                     and Attested by the
                          PENNSYLVANIA        Office of Judicial Records
                                                                            23 MAR 2021 12:21 pm
SANSOM STREET PARTNERS, LLC                         :                             M. RUSSO
AND                                                 :
MISSION TAQUERIA                                    :
AND                                                 :
SAMS OYSTER HOUSE, LLC                              :
                                                    : MARCH TERM, 2021
                      v.                            :
                                                    : No. 001516
HARLEYSVILLE WORCESTER INSURANCE                    :
COMPANY AND HARLEYSVILLE                            :
PREFERRED INSURANCE COMPANY AND                     :
NATIONWIDE MUTUAL INSURANCE                         :
COMPANY AND NATIONWIDE PROPERTY                     :
& CASUALTY INSURANCE COMPANY                        :


                    CERTIFICATE OF SERVICE OF LEGAL PAPERS
                            PURSUANT TO PA R.C.P. 403

       I, James C. Haggerty, Esquire, Attorney for Plaintiff, certify that a copy of the Writ filed
on March 16, 2021 was sent to Nationwide Property & Casualty Insurance Company at One
Nationwide Plaza, Columbus, OH 43215-2220 by Certified Mail, Return Receipt Requested on
March 17, 2021. The Writ was received by the defendant on March 22, 2021. A true and correct
copy of the letter to Nationwide Mutual Insurance Company and a copy of the USPS confirmation
and the Certified Mail Return Receipt, Article No.: 7018 1830 0001 6524 9953 are attached hereto
as Exhibit “A”.

                                             HAGGERTY, GOLDBERG, SCHLEIFER
                                             & KUPERSMITH, P.C.

DATE: 3/23/21                        BY:     _/s/ James C. Haggerty_________________
                                             James C. Haggerty, Esquire
                                             1835 Market Street, Suite 2700
                                             Philadelphia, PA 19103
                                             Attorney for Plaintiff




                                                                                          Case ID: 210301516
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                         EXHIBIT A




                                                               Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 16 of 53




                                                               Case ID: 210301516
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Status

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March 22, 2021 at 6:51 am
Delivered, Individual Picked Up at Postal Facility
COLUMBUS, OH 43215
Get Updates
                                                                                        Delivered
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Tracking History
March 22, 2021, 6:51 am
Delivered, Individual Picked Up at Postal Facility
COLUMBUS, OH 43215
Your item was picked up at a postal facility at 6:51 am on March 22, 2021 in COLUMBUS, OH
43215.




March 21, 2021
In Transit to Next Facility




                                                                                              Case ID: 210301516
      Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 18 of 53



March 19, 2021, 10:45 pm
Departed USPS Regional Facility
COLUMBUS OH DISTRIBUTION CENTER




March 19, 2021, 10:16 am
Arrived at USPS Regional Facility
COLUMBUS OH DISTRIBUTION CENTER




March 17, 2021, 11:33 pm
Departed USPS Regional Facility
PHILADELPHIA PA DISTRIBUTION CENTER




March 17, 2021, 9:55 pm
Arrived at USPS Regional Facility
PHILADELPHIA PA DISTRIBUTION CENTER




Product Information
See Less




                                                                     Case ID: 210301516
      Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 19 of 53




SWARTZ CAMPBELL LLC                                             Filed and Attested by the
BY: William T. Salzer                                          Office of Judicial Records
      Identification No. 42657                                     19 MAR 2021 03:29 pm
                                                                         M. RUSSO
One Liberty Place – 38th Floor
1650 Market Street                              Attorneys for Defendants
Philadelphia, PA 19103
Phone: 215-299-4346
Fax:    215-299-4301
wsalzer@swartzcampbell.com


SANSOM STREET PARTNERS, LLC,                     COURT OF COMMON PLEAS
MISSION TAQUERIA AND
SAMS OYSTER HOUSE, LLC,
                                                 PHILADELPHIA COUNTY
                                  Plaintiffs,
           vs.
                                                 MARCH TERM, 2021
HARLEYSVILLE WORCESTER
INSURANCE COMPANY,
HARLEYSVILLE PREFERRED                           NO. 01516
INSURANCE COMPANY,
NATIONWIDE MUTUAL
INSURANCE COMPANY AND
NATIONWIDE PROPERTY &
CASUALTY INSURANCE COMPANY,

                                 Defendants.


                           ENTRY OF APPEARANCE

TO THE CLERK:

      Kindly enter our appearance for Defendants, Harleysville Worcester

Insurance Company, Harleysville Preferred Insurance Company, Nationwide

Mutual Insurance Company and Nationwide Property & Casualty Insurance

Company, with regard to the above matter.




                                                                             Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 20 of 53




                                   SWARTZ CAMPBELL LLC

                                   /s/ William T. Salzer
                                   William T. Salzer
                                   Attorneys for Defendants,
                                   Harleysville Worcester Insurance
                                   Company, Harleysville Preferred
                                   Insurance Company, Nationwide
                                   Mutual Insurance Company and
                                   Nationwide Property & Casualty
                                   Insurance Company




                               2
                                                                 Case ID: 210301516
      Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 21 of 53




SWARTZ CAMPBELL LLC
BY: William T. Salzer
      Identification No. 42657
One Liberty Place – 38th Floor
1650 Market Street                              Attorneys for Defendants
Philadelphia, PA 19103
Phone: 215-299-4346
Fax:    215-299-4301
wsalzer@swartzcampbell.com


SANSOM STREET PARTERS, LLC,                      COURT OF COMMON PLEAS
MISSION TAQUERIA AND
SAMS OYSTER HOUSE, LLC,
                                                 PHILADELPHIA COUNTY
                                  Plaintiffs,
           vs.
                                                 MARCH TERM, 2021
HARLEYSVILLE WORCESTER
INSURANCE COMPANY,
HARLEYSVILLE PREFERRED                           NO. 01516
INSURANCE COMPANY,
NATIONWIDE MUTUAL
INSURANCE COMPANY AND
NATIONWIDE PROPERTY &
CASUALTY INSURANCE COMPANY,

                                 Defendants.


                           CERTIFICATE OF SERVICE

      William T. Salzer, Esquire, hereby certifies that a true and correct copy of the

attached Entry of Appearance has been served upon all interested parties, listed

below, either electronically and/or by United States Mail, first class, postage

prepaid on March 19, 2021.




                                          3
                                                                              Case ID: 210301516
      Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 22 of 53




James C. Haggerty, Esquire
Haggerty Goldberg Schleifer & Kupersmith, PC
1835 Market Street, 27th Floor
Philadelphia, PA 19103
Attorney for Plaintiffs


                                          SWARTZ CAMPBELL LLC

                                          /s/ William T. Salzer
                                          William T. Salzer
                                          Attorneys for Defendants,
                                          Harleysville Worcester Insurance
                                          Company, Harleysville Preferred
                                          Insurance Company, Nationwide
                                          Mutual Insurance Company and
                                          Nationwide Property & Casualty
                                          Insurance Company




                                      4
                                                                        Case ID: 210301516
       Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 23 of 53




      IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                              Filed COUNTY
                                                    and Attested by the
                         PENNSYLVANIA        Office of Judicial Records
                                                                         14 APR 2021 09:43 am
SANSOM STREET PARTNERS, LLC                        :                           M. RUSSO
AND                                                :
MISSION TAQUERIA                                   :
AND                                                :
SAMS OYSTER HOUSE, LLC                             :
                                                   : MARCH TERM, 2021
                     v.                            :
                                                   : No. 001516
HARLEYSVILLE WORCESTER INSURANCE                   :
COMPANY AND HARLEYSVILLE                           :
PREFERRED INSURANCE COMPANY AND                    :
NATIONWIDE MUTUAL INSURANCE                        :
COMPANY AND NATIONWIDE PROPERTY                    :
& CASUALTY INSURANCE COMPANY                       :


                               PRAECIPE TO REINSTATE

TO THE PROTHONOTARY:

       Kindly reinstate the attached Writ so that service may be made upon the defendants,

Harleysville Worcester Insurance Company and Harleysville Preferred Insurance Company.




                                            HAGGERTY, GOLDBERG, SCHLEIFER
                                            & KUPERSMITH, P.C.

DATE: 4/14/21                       BY:     _/s/ James C. Haggerty_________________
                                            James C. Haggerty, Esquire
                                            1835 Market Street, Suite 2700
                                            Philadelphia, PA 19103
                                            Attorney for Plaintiff




                                                                                             1
                                                                                       Case ID: 210301516
       Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 24 of 53




                              CERTIFICATION OF SERVICE


       I, James C. Haggerty, Esquire, hereby certify that a true and correct copy of the Praecipe

to Reinstate has been served via electronic delivery upon the following persons:

                                    William Salzer, Esquire
                                    Swartz Campbell, LLC
                                      1650 Market Street
                                       One Liberty Place
                                           38th Floor
                                    Philadelphia, PA 19103

                                 wsalzer@swartzcampbell.com




                              HAGGERTY, GOLDBERG, SCHLEIFER
                              & KUPERSMITH, P.C.


                              BY:    _/s/ James C. Haggerty_________
                                     JAMES C. HAGGERTY, ESQUIRE
                                     PA Attorney I.D. # 30003
                                     1835 Market Street, Suite 2700
                                     Philadelphia, PA 19103
                                     (267) 350-6600
                                     FAX (215) 665-8197
                                     Attorney for Plaintiff
DATE: 4/14/21




                                                                                               2
                                                                                        Case ID: 210301516
       Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 25 of 53




       IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                               Filed COUNTY
                                                     and Attested by the
                          PENNSYLVANIA        Office of Judicial Records
                                                                            21 APR 2021 10:13 am
SANSOM STREET PARTNERS, LLC                         :                            A. STAMATO
AND                                                 :
MISSION TAQUERIA                                    :
AND                                                 :
SAMS OYSTER HOUSE, LLC                              :
                                                    : MARCH TERM, 2021
                      v.                            :
                                                    : No. 001516
HARLEYSVILLE WORCESTER INSURANCE                    :
COMPANY AND HARLEYSVILLE                            :
PREFERRED INSURANCE COMPANY AND                     :
NATIONWIDE MUTUAL INSURANCE                         :
COMPANY AND NATIONWIDE PROPERTY                     :
& CASUALTY INSURANCE COMPANY                        :


                    CERTIFICATE OF SERVICE OF LEGAL PAPERS
                            PURSUANT TO PA R.C.P. 403

       I, James C. Haggerty, Esquire, Attorney for Plaintiff, certify that a copy of the Writ filed
on March 16, 2021 and reinstated on April 14, 2021 was sent to Harleysville Worcester Insurance
Company c/o Nationwide Property & Casualty Insurance Company at One Nationwide Plaza,
Columbus, OH 43215-2220 by Certified Mail, Return Receipt Requested on April 15, 2021. The
Writ was received by the defendant on April 20, 2021. A true and correct copy of the letter to
Nationwide Mutual Insurance Company and a copy of the USPS confirmation and the Certified
Mail Return Receipt, Article No.: 7020 2450 0001 5617 1706 are attached hereto as Exhibit “A”.

                                             HAGGERTY, GOLDBERG, SCHLEIFER
                                             & KUPERSMITH, P.C.

DATE: 4/21/21                        BY:     _/s/ James C. Haggerty_________________
                                             James C. Haggerty, Esquire
                                             1835 Market Street, Suite 2700
                                             Philadelphia, PA 19103
                                             Attorney for Plaintiff




                                                                                          Case ID: 210301516
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                         EXHIBIT A




                                                               Case ID: 210301516
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Your item was picked up at a postal facility at 7:03 am on April 20, 2021 in COLUMBUS,
OH 43216.
Status

Delivered, Individual Picked Up at Postal Facility
April 20, 2021 at 7:03 am
COLUMBUS, OH 43216

Get Updates
                                                                                        Delivered
Text & Email Updates
Tracking History
April 20, 2021, 7:03 am
Delivered, Individual Picked Up at Postal Facility
COLUMBUS, OH 43216
Your item was picked up at a postal facility at 7:03 am on April 20, 2021 in COLUMBUS, OH 43216.




April 19, 2021
In Transit to Next Facility




                                                                                              Case ID: 210301516
      Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 28 of 53



April 18, 2021, 6:30 pm
Departed USPS Regional Facility
COLUMBUS OH DISTRIBUTION CENTER




April 18, 2021, 4:53 am
Arrived at USPS Regional Facility
COLUMBUS OH DISTRIBUTION CENTER




April 15, 2021, 10:09 pm
Arrived at USPS Regional Facility
PHILADELPHIA PA DISTRIBUTION CENTER




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                                                                     Case ID: 210301516
      Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 29 of 53




                          CERTIFICATE OF SERVICE
      James C. Haggerty, Esquire, hereby certifies that a copy of the Affidavit of

Service was served on the date noted below via electronic filing, addressed as follows:


                                William Salzer, Esquire
                                Swartz Campbell, LLC
                                  1650 Market Street
                                   One Liberty Place
                                       38th Floor
                                Philadelphia, PA 19103

                             wsalzer@swartzcampbell.com



                                              HAGGERTY,GOLDBERG,
                                              SCHLEIFER & KUPERSMITH, P.C.

                                              BY: _/s/ James C. Haggerty_________
                                              JAMES C. HAGGERTY, Esquire
                                              PA Attorney I.D. # 30003
                                              1835 Market Street, Suite 2700
                                              Philadelphia, PA 19103
                                              (267) 350-6600
                                              FAX (215) 665-8197

Date: 4/21/21                                  Attorneys for Plaintiffs




                                                                               Case ID: 210301516
        Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 30 of 53




                              CERFICATION OF COMPLIANCE


        I, James C. Haggerty, Esquire, certify that this filing complies with the provisions of the

Case Records Public Access Policy of the United Judicial System of Pennsylvania that requires

filing confidential information and documents differently that non-confidential information and

documents.




                                                      HAGGERTY,GOLDBERG, SCHLEIFER &
                                                      KUPERSMITH, P.C.


                                                      BY:     _/s/ James C. Haggerty_________
                                                      JAMES C. HAGGERTY, Esquire
                                                      PA Attorney I.D. # 30003
                                                      1835 Market Street, Suite 2700
                                                      Philadelphia, PA 19103
                                                      (267) 350-6600
                                                      FAX (215) 665-8197

                                                      Attorneys for Plaintiffs
Date:




                                                                                           Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 31 of 53




                                                               Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 32 of 53




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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                            210301516
                                                          14 APR 2021 09:43 am
                                                                M. RUSSO




                                                                 Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 37 of 53




                                                               Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 38 of 53




                                                               Case ID: 210301516
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                                                  Filed and Attested by the
                                                 Office of Judicial Records
                                                     23 APR 2021 10:48 am
                                                            S. RICE




                                                            210301516
                                                          23 APR 2021 10:48 am
                                                                S. RICE




                                                                 Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 40 of 53




                                                  Filed and Attested by the
                                                 Office of Judicial Records
                                                     04 JUN 2021 04:36 pm
                                                            S. RICE




                                                               Case ID: 210301516
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                                                               Case ID: 210301516
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 42 of 53




                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
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                                                               Case ID: 210301516
         Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 50 of 53




                                  IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                                       COUNTY
                                      FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                TRIAL DIVISION – CIVIL




       SANSOM STREET PARTNERS LLC                                       March Term 2021

                         VS                                                 No. 01516

                 HARLEYSVILLE

                                   CASE MANAGEMENT ORDER
                                       STANDARD TRACK
                                                                                     09-JUN-2021
                                                                                    B. LAWLOR
     AND NOW, Wednesday, June 09, 2021, it is Ordered that:

1.       The case management and time standards adopted for standard track cases shall be
         applicable to this case and are hereby incorporated into this Order.

2.       All discovery on the above matter shall be completed not later than 06-JUN-2022.

3.       Plaintiff shall identify and submit curriculum vitae and expert reports of all expert witnesses
         intended to testify at trial to all other parties not later than 06-JUN-2022.

4.       Defendant and any additional defendants shall identify and submit curriculum vitae and expert
         reports of all expert witnesses intended to testify at trial not later than 04-JUL-2022.
5.       All pre-trial motions shall be filed not later than 04-JUL-2022.

6.       A settlement conference may be scheduled at any time after 04-JUL-2022. Prior to the
         settlement conference all counsel shall serve all opposing counsel and file a settlement
         memorandum containing the following:

         (a).            A concise summary of the nature of the case if plaintiff or of the defense if
                         defendant or additional defendant;

         (b).            A statement by the plaintiff or all damages accumulated, including an
                         itemization of injuries and all special damages claimed by categories and
                         amount;

         (c).            Defendant shall identify all applicable insurance carriers, together with
                         applicable limits of liability.
             Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 51 of 53




7.           A pre-trial conference will be scheduled any time after 05-SEP-2022. Fifteen days prior to
             pre-trial conference, all counsel shall serve all opposing counsel and file a pre-trial memorandum
             containing the following:

             (a).            A concise summary of the nature of the case if plaintiff or the defense if
                             defendant or additional defendant;
             (b).            A list of all witnesses who may be called to testify at trial by name and address.
                             Counsel should expect witnesses not listed to be precluded from testifying at
                             trial;

             (c).            A list of all exhibits the party intends to offer into evidence. All exhibits shall be
                             pre-numbered and shall be exchanged among counsel prior to the conference.
                             Counsel should expect any exhibit not listed to be precluded at trial;

             (d).            Plaintiff shall list an itemization of injuries or damages sustained together with
                             all special damages claimed by category and amount. This list shall include as
                             appropriate, computations of all past lost earnings and future lost earning
                             capacity or medical expenses together with any other unliquidated damages
                             claimed; and

             (e).            Defendant shall state its position regarding damages and shall identify all
                             applicable insurance carriers, together with applicable limits of liability;

             (f).            Each counsel shall provide an estimate of the anticipated length of trial.

8.           It is expected that the case will be ready for trial 03-OCT-2022, and counsel should anticipate
             trial to begin expeditiously thereafter.

9.           All counsel are under a continuing obligation and are hereby ordered to serve a copy of this order
             upon all unrepresented parties and upon all counsel entering an appearance subsequent to the
             entry of this Order.


                                                                 BY THE COURT:




                                                                _________________________
                                                                DANIEL ANDERS, J.
                                                                TEAM LEADER

BPL02820(REV 11/04)
Case 2:21-cv-02772-GAM Document 1-1 Filed 06/22/21 Page 52 of 53
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                           IN THE COURT OF COMMON PLEAS OF PHILADELPHIA OUNTY
                                  FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                            CIVIL TRIAL DIVISION



 SANSOM STREET PARTNERS, LLC, ET AL                          MARCH TERM, 2021

                      V.                                             No. 1516
  HARLEYSVILLE WORCESTER INS. CO.,
              ET AL


                           REVISED CASE MANAGEMENT ORDER

Be advised that the Case Management Order issued for the above-captioned matter has been
revised as follows:
    1. All discovery shall be completed not later than 06-JUN-2022.
   2. Plaintiff shall submit expert reports not later 06-JUN-2022.
   3. Defendant shall submit expert reports not later than 0-JUL-2022.
   4. All pre-trial motions other than motions in limine shall be filed not later than 18-JUL-
       2022.
   5. A settlement conference will be scheduled any time after 06-SEP-2022.
   6. A pre-trial conference will be scheduled any time after 03-OCT-2022.
   7. It is expected that this case shall be ready for trial by 07-NOV-2022

All other terms and conditions on the original Case Management Order will remain in full force
and effect.




                                                    BY THE COURT:

                                                    ______/S/__________________
                                                    LEON W. TUCKER, J.
                                                    TEAM LEADER

11-JUN-2021
